           UNITED STATES BANKRUPTCY COURT
            EASTERN DISTRICT OF MICHIGAN

In the Matter of:

ARK LABORATORY, LLC,                                   Case No. 23-43403-mlo
                                                       Chapter 11
           Debtor.                                     Hon, Maria L. Oxholm
                                                /

 ORDER: (I) AUTHORIZING THE SALE OF SUBSTANTIALLY
  ALL OF THE DEBTOR’S ASSETS PURSUANT TO § 363 OF
    THE BANKRUPTCY CODE, FREE AND CLEAR OF ALL
  LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES; (II)
   AUTHORIZING AND APPROVING THE TERMS OF THE
 DEBTOR’S ASSET PURCHASE AGREEMENT AND RELATED
  AGREEMENTS AND AUTHORIZING CONSUMMATION OF
     THE TRANSACTIONS CONTEMPLATED THEREIN
   INCLUDING THE ASSUMPTION AND ASSIGNMENT OF
    CERTAIN SPECIFIED EXECUTORY CONTRACTS AND
        UNEXPIRED LEASES; AND (III) GRANTING
                   RELATED RELIEF

    Ark Laboratory, LLC. (the “Debtor”), having filed on June 23, 2023

its MOTION TO APPROVE (1) BIDDING PROCEDURES AND FORM

OF ASSET PURCHASE AGREEMENT RELATING TO SALE OF

SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS; AND (2) THE

SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE

AND    CLEAR        OF   LIENS,      CLAIMS,            AND     ENCUMBRANCES

PURSUANT TO 11 U.S.C. §§ 105(A) AND 363; ASSUMPTION AND

ASSIGNMENT          OF   UNEXPIRED                  LEASES    AND     EXECUTORY
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CONTRACT PURSUANT TO 11 U.S.C. § 365; AND RELATED RELIEF

(the “Sale Motion”)1, seeking, pursuant to §§ 105(a), 363, and 365 of title

11 of the United States Code (the “Bankruptcy Code” ) and Rules 2002,

6004, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), authorization to sell substantially all its operating

assets and assign certain executory contracts and unexpired leases

except the Excluded Assets as defined in the Amended Asset Purchase

Agreement filed with the Court [ECF No. 261] (the “Transaction” or

“Transactions”); and this Court having entered on June 29, 2023, its

ORDER (1) APPROVING BIDDING PROCEDURES AND OTHER

MATTERS RELATING TO THE SALE OF THE DEBTOR’S ASSETS;

(2)     FORM       OF   ASSET        PURCHASE              AGREEMENT           AND      (3)

SCHEDULING A SALE HEARING (the “Bidding Procedures Order”)

approving, among other things, the Bidding Procedures with respect to,

and notice of, including the Sale Notice, as amended [ECF No. 247] of the


1 Capitalized terms used but not defined herein have the meanings
ascribed to them in the Amended Asset Purchase Agreement (the
“Agreement”) by and between the Debtor and Auxo Investment, LLC,
(the “Purchaser”), dated as of June 22, 2023 (a copy of which was attached
as Exhibit A to the Sale Motion), as amended, the Sale Motion, or the
Bidding Procedures Order, as the case may be, in that order of priority,
unless the context clearly requires otherwise.

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Transaction; and the Auction having been conducted in all material

respects in accordance with the Bidding Procedures Order on July 31,

2023; and Debtor, having determined that Purchaser has submitted the

highest or otherwise best bid for the Purchased Assets and has been

designated as the Successful Bidder pursuant to the Bidding Procedures

Order; and a hearing having been held on September 28, 2023 (the “Sale

Hearing”) to consider approval of the sale of the Purchased Assets to

Purchaser (as well as the assumption by Purchaser of the Assigned

Contracts and Assumed Liabilities) pursuant to the terms and conditions

of the Agreement, and adequate and sufficient notice of the Bidding

Procedures, the Agreement, and the Transaction having been given to

parties in interest in this case; and such parties having been afforded an

opportunity to be heard with respect to the Sale Motion and all relief

requested therein; and the Court having reviewed and considered: (i) the

Sale Motion; (ii) the objections to the Sale Motion; and (iii) the arguments

of counsel made, and the evidence proffered or adduced, at the Sale

Hearing, after due deliberation thereon; and good and sufficient cause

appearing therefor, and it appearing that the relief requested in the Sale

Motion, insofar as it pertains to this Order, is in the best interests of the

Debtor, its estate, its creditors, and other parties in interest; all objections
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 filed to the Sale Motion having been withdrawn, resolved or denied; and

 the Court being fully advised in the premises;

       IT HEREBY IS FOUND AND DETERMINED THAT:2

       A.   This Court has jurisdiction over the Sale Motion under 28

U.S.C. §§ 157 and 1334, and this matter is a core proceeding under 28

U.S.C. § 157(b)(2)(A), (N), and (O). Venue of this case and the Sale Motion

in this district is proper under 28 U.S.C. §§ 1408 and 1409.

       B.   The statutory bases for the relief sought in the Sale

Motion are §§ 105(a), 363, and 365 of the Bankruptcy Code, together with

Bankruptcy Rules 2002, 6004, 9007, and 9014.

       C.   This Order constitutes a final order within the meaning of 28

U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d),

and to any extent necessary under Bankruptcy Rule 9014 and Rule 54(b)

of the Federal Rules of Civil Procedure, as made applicable by Bankruptcy

Rule 7054, the Court expressly finds that there is no just reason for delay

in the implementation of this Order, and expressly directs entry of

judgment as set forth herein.



2 Findings of fact shall be construed as conclusions of law and conclusions

of law shall be construed as findings of fact when appropriate. See Fed. R.
Bankr. P. 7052.
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       D.   As evidenced by the proofs of service on file with this Court,

due, proper, timely, adequate, and sufficient notice and a reasonable

opportunity to object or be heard with respect to the Sale Motion and the

relief requested therein, the Sale Hearing, the Transaction, and the

Auction, have been provided in accordance with §§ 102(1), 105(a), 363, and

365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 9007, and

9014, and in compliance with the Bidding Procedures and the Purchase

Agreement, to interested persons and entities, including, but not limited

to: (1) the Office of the United States Trustee; (2) Purchaser and its

counsel; (3) the Creditors’ Committee and its counsel; (4) all entities,

known to Debtor that assert any Liens against or other interests in the

Purchased Assets (or any portion thereof); (5) all parties known to the

Debtor who expressed in writing to Debtor an interest in purchasing all or

a portion of the Purchased Assets; (6) all non-Debtor parties to any

Purchased Contracts; (7) all relevant taxing authorities; (8) the United

States Department of Health and Human Services (“HHS”), Centers for

Medicare & Medicaid Services (“CMS,” together with HHS, the

“Regulatory Authorities”).; and (9) all entities required to receive notice

pursuant to Bankruptcy Rule 2002, including, without limitation, those

entities that have filed a notice of appearance and request for service of
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papers in these cases.

       E.      Such notice with respect to the Sale Motion and the relief

requested therein, the Sale Hearing, the Transaction, and the Auction was

(i) reasonably calculated to provide all interested parties with timely and

proper notice of the Sale, Sale Hearing and Auction, and (ii) good,

sufficient, and appropriate under the circumstances. Accordingly, no other

or further notice of the Sale Motion, the Sale Hearing, the Transaction, the

Bidding Procedures, the Sale Notice, as amended, or the Auction is or shall

be required.

       F.      As demonstrated by the testimony and other evidence, if any,

proffered or adduced at the Sale Hearing, the Debtor has conducted the

sale process in compliance, in all material respects, with the Bidding

Procedures Order.

       G.      No consents or approvals are required for the Debtor to

consummate the Transaction other than the consent and approval of this

Court and those set forth in the Agreement. Neither the execution of the

Agreement nor the consummation of the Transaction in accordance with

its terms will constitute a violation of any provision of the Debtor’s

organizational documents or any other instrument, law, regulation, or


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ordinance by which the Debtor is bound.

          H.   The bidding and related procedures established by the

Bidding Procedures Order have been complied with in all material respects

by the Debtor and Purchaser. The Debtor received a Qualifying Bid from

Auxo Investment Partners, LLC, and no other bids were received, and

thus, no Auction for the Purchased Assets was conducted. Accordingly,

Auxo Investment Partners, LLC is the Successful Bidder for the Purchased

Assets.

          I.   The Debtor is the legal and equitable owner of the Purchased

Assets and, upon entry of this Sale Order, the Debtor shall have full

authority to consummate the Transaction contemplated by the Agreement.

          J.   The Agreement and the Transaction have been duly and

validly authorized by all necessary corporate action, as the case may be, of

the Debtor.

          K.   Approval of the Agreement and consummation of the

Transaction is in the best interests of the Debtor, its estate, creditors, and

other parties in interest, and the Debtor has demonstrated (i) good,

sufficient, and sound business purpose and justification, (ii) compelling

circumstances for the Sale pursuant to § 363(b) of the Bankruptcy Code


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prior to, in contemplation of, and outside of, a plan of reorganization in

that, among other things, the immediate consummation of the sale to the

Purchaser is necessary and appropriate to maximize the value of the

Debtor’s estate, and (iii) the sale will provide the means for the Debtor to

maximize distributions to creditors. To maximize the value of the

Purchased Assets, it is essential that the Transaction occur within the time

constraints set forth in the Agreement. Time is of the essence in

consummating the Transaction.

       L.    The Debtor, with the assistance of its professionals, diligently

and in good faith marketed the Purchased Assets to secure the highest and

best offer therefor by, among other things, making its books and records

and the Purchased Assets available to potential buyers for due diligence

and providing potential buyers with access to management. In addition,

the Debtor served the Bidding Procedures Order, the Sale Motion, the

Agreement and the notice of sale, as amended, on each of the entities that

had previously expressed an interest in some or all of the Purchased Assets

and published notice of the sale in the Detroit News and Crain’s Detroit,

and the amended notice in Crain’s Detroit.

       M.    The procedures set forth in the Bidding Procedures Order,

including the Auction, were designed to and achieved a fair and reasonable
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purchase price constituting the highest and best offer obtainable for the

Purchased Assets.

       N.   A sale of the Purchased Assets at this time pursuant to §

363(b) of the Bankruptcy Code will preserve the existing value of the

Purchased Assets and maximize the Debtor’s estate for the benefit of all

constituencies.

       O.   The Agreement between the Debtor and the Purchaser was

negotiated, proposed and entered into by the Debtor and the Purchaser in

good faith and from arm’s-length bargaining positions and without

collusion, fraud, or unfair advantage.

       P.   At the Sale Hearing on September 28, 2023, no evidence was

presented that either the Debtor or the Purchaser engaged in any conduct

that would cause or permit the Purchase Agreement to be avoided under

section 363(n) of the Bankruptcy Code. Specifically, no evidence was

presented that the Purchaser acted in a collusive manner with any person

and no evidence was presented that the aggregate price paid by the

Purchaser for the Purchased Assets was controlled by any agreement

among the bidders.

       Q.   The Successful Bidder is purchasing the Purchased Assets in


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good faith and is a good faith purchaser for value within the meaning of

section 363(m) of the Bankruptcy Code, and is therefore entitled to all of

the protections afforded by that provision, and otherwise has proceeded in

good faith in all respects in connection with this proceeding in that, inter

alia: (a) the Purchaser recognized that the Debtor was free to deal with

any other party interested in acquiring the Purchased Assets; (b) the

Purchaser complied with the provisions in the Bid Procedures Order; (c)

the Purchaser agreed to subject its bid to the competitive bidding

procedures set forth in the Bid Procedures Order; (d) the Purchaser in no

way induced or caused the chapter 11 filing by the Debtor; (e) the

negotiation and execution of the Agreement was at arm’s-length and in

good faith, and at all times each of the Purchaser and the Debtor were

represented by competent counsel of their choosing, (f) the Purchaser has

not acted in a collusive manner with any person, and (g) all payments to

be made by the Purchaser in connection with the sale have been disclosed.

The Purchaser will be acting in good faith within the meaning of section

363(m) of the Bankruptcy Code in closing the Transactions contemplated

by the Agreement.

       R.    The consideration to be provided by Purchaser, in this case

being, inter alia, a credit bid of the Purchaser’s indebtedness owed by the
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Debtor to it, pursuant to the Agreement: (i) is valid, due and outstanding

by the Debtor to the Purchaser, (ii) is fair and reasonable; (iii) is the

highest or otherwise best offer for the Purchased Assets; (iv) will provide a

greater recovery for the Debtor’s creditors than would be provided by any

other practical available alternative; and (v) constitutes reasonably

equivalent value and fair consideration under the Bankruptcy Code. In

addition, the Purchaser is funding the administrative claims and the

priority claims of the Debtor’s estate, thereby providing additional value

to the Debtor. No other person or entity or group of entities has offered to

purchase the Purchased Assets for greater economic value to the Debtor’s

estate.

          S.   The Agreement was not entered into for the purpose of

hindering, delaying, or defrauding creditors under the Bankruptcy Code.

          T.   The Purchaser is not a mere continuation of the Debtor or its

estate and there is no continuity of enterprise between the Purchaser and

the Debtor. The Purchaser is not holding itself out to the public as a

continuation of the Debtor. The Purchaser is not a successor to the Debtor

or its estate and the Transaction does not amount to a consolidation,

merger or de facto merger of the Purchaser and the Debtor.


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        U.   Subject to the terms of this Order, the transfer of the

Purchased Assets to the Purchaser will be a legal, valid, and effective

transfer of the Purchased Assets, and, except as expressly provided in the

Purchase Agreement, will vest the Purchaser with all right, title, and

interest of the Debtor to the Purchased Assets free and clear of all: (i)

Liens; (ii) all debts arising under, relating to, or in connection with any act

of the Debtor or claims (as that term is defined in section 101(5) of the

Bankruptcy Code), liabilities, obligations, demands, guaranties, options,

rights, contractual commitments, restrictions, interests and matters of any

kind and nature, whether arising prior to or subsequent to the

commencement of these cases, and whether imposed by agreement,

understanding, law, equity or otherwise (collectively, “Claims”); (iii)

encumbrances and (iv) interests of any kind, including, without limitation,

the following: (A) interests that purport to give to any party or entity a

right or option to effect any forfeiture, modification, right of first refusal,

or termination of the Debtor’s or the Purchaser’s interest in the Purchased

Assets, or any similar rights; (B) interests relating to taxes arising under

or out of, in connection with, or in any way relating to the operation of the

Business prior to the Closing Date; and (C) interests relating to Liens,

claims, and encumbrances on the Purchased Assets or against the Debtor
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(collectively (ii)-(iv) from time to time herein “Interests”); provided,

however, that all such Interests shall attach to the proceeds of the Sale, in

order of priority as set forth under applicable law unless modified by this

Order.

         V.     The Purchaser would not have entered into the Agreement

and would not consummate the Transactions contemplated thereby, thus

adversely affecting the Debtor, its estate, and its creditors, if the sale of

the Purchased Assets to the Purchaser and the assignment of the

Purchased Contracts to the Purchaser were not free and clear of all Liens

and Interests of any kind or nature whatsoever, or if the Purchaser would,

or in the future could, be liable for any of the Liens or Interests not

expressly assumed by the Purchaser.

         W.   Subject to the provisions of this Order, the Debtor may sell

the Purchased Assets free and clear of all Liens and other Interests of any

kind or nature whatsoever because, in each case, one or more of the

standards set forth in §§ 363(f)(1) through (5) of the Bankruptcy Code has

been satisfied. Those (i) holders of Interests and (ii) non-debtor parties to

Purchased Contracts who did not object, or who withdrew their objections,

to the Sale or the Sale Motion are deemed to have consented pursuant to §

363(f)(2) of the Bankruptcy Code. Those (i) holders of Interests and (ii) non-
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debtor parties to Purchased Contracts who did object fall within one or

more of the other subsections of § 363(f) of the Bankruptcy Code and are

adequately protected by having their Interests, if any, attach to the

proceeds of the Sale attributable to the property against or in which they

claim Interests.

       X.       Under §363 of the Bankruptcy Code, unless otherwise

expressly included in Permitted Encumbrances under the Purchase

Agreement, the Purchaser shall not be responsible for any Liens or

Interests, including in respect of the following: (1) any labor or employment

agreements; (2) all mortgages, deeds of trust and security interests; (3)

intercompany loans and receivables between the Debtor and any non-

Debtor affiliate, (4) any pension, welfare, compensation or other employee

benefit plans, agreements, practices and programs, including, without

limitation, any pension plan of the Debtor; (5) any other employee,

worker’s compensation, occupational disease or unemployment or

temporary disability related claim of anyone other than the United States,

including, without limitation, claims that might otherwise arise under or

pursuant to (a) the Employee Retirement Income Security Act of 1974, as

amended, (b) the Fair Labor Standards Act, (c) Title VII of the Civil Rights

Act of 1964, (d) the Federal Rehabilitation Act of 1973, (e) the National
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Labor Relations Act, (f) the Worker Adjustment and Retraining Act of

1988, (g) the Age Discrimination and Employee Act of 1967 and Age

Discrimination in Employment Act, as amended, (h) the Americans with

Disabilities Act of 1990, (i) the Consolidated Omnibus Budget

Reconciliation Act of 1985, (j) state discrimination laws, (k) state

unemployment compensation laws or any other similar state laws, or (l)

any other state or federal benefits or claims relating to any employment

with the Debtor or any of their respective predecessors; (6) any liabilities

of the Debtor other than the Assumed Liabilities as defined in the

Agreement, the “Excluded Liabilities”; (7) any bulk sales or similar law; (8)

any tax statutes or ordinances, including, without limitation, the Internal

Revenue Code of 1986, as amended; and (9) any theories of successor

liability.

         Y.   Under 11 U.S.C. § 363(f), the (i) transfer of the Purchased

Assets to the Purchaser and (ii) assumption and assignment to the

Purchaser of the Assigned Contracts will not deem the Purchaser to be a

“successor,” or subject the Purchaser to any liability whatsoever with

respect to, or on account of, the operation of the Business prior to the

Closing Date or by reason of such transfer under any applicable laws,

whether based, in whole or in part, directly or indirectly, on any theory of
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law or equity, including, without limitation, any theory of equitable law,

any theory of implied assumption of any liabilities other than the Assumed

Liabilities, any theory of constructive consolidation or merger of the

Purchaser and the Debtor, any theory that Purchaser’s acquisition is a

mere continuation or reincarnation of the Debtor’s business, any theory

that the Transaction is fraudulent or lacks good faith, or any other theory

of antitrust, vicarious, successor, or transferee liability.

        Z.   The Debtor has demonstrated that it is an exercise of its

sound business judgment to enter into the Transaction, consummate the

Sale, and assume and assign the Assigned Contracts to the Purchaser in

connection with the consummation of the Sale, and the assumption and

assignment of the Purchased Contracts is in the best interests of the

Debtor, its estate, and its creditors. The Assigned Contracts being assumed

and assigned to the Purchaser are an integral part of the assets being

purchased by the Purchaser and, accordingly, such assumption and

assignment of the Assigned Contracts are reasonable, enhance the value

of the Debtor’s estate, and do not constitute unfair discrimination.

       Z.    The consummation of the Transaction (the “Closing”)

pursuant to the Agreement and the terms of this Order will be a legal,

valid, and effective transfer of the Purchased Assets to Purchaser, and will
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vest Purchaser with all right, title, and interest in and to the Purchased

Assets and the Assigned Contracts, free and clear of all Liens and

Interests, other than Permitted Encumbrances (as such term is defined in

the Purchase Agreement) in accordance with § 363(f) of the Bankruptcy

Code.

         AA. The Agreement is a valid and binding contract between the

Debtor and Purchaser, which is and shall be enforceable according to its

terms.

         BB. All of the provisions of the Agreement are non-severable and

mutually dependent.

         CC. Notice of the Sale Motion has been provided to each non-

debtor party to an Assigned Contract, together with a statement from the

Debtor with respect to the amount, if any, to be paid by the Purchaser to

such non-debtor party to cure any defaults under, and to otherwise comply

with the requirements of § 365(b) of the Bankruptcy Code with respect to

the Assigned Contract to which such non-debtor is party (the “Cure

Amounts”). As to each Assigned Contract, payment of the Cure Amount by

the Purchaser as determined in accordance with the procedures provided

in the Bidding Procedures Order will be sufficient for the Debtor to comply


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fully with the requirements of § 365(b) of the Bankruptcy Code.

       DD. Purchaser has provided adequate assurance of its ability to

perform its obligations under each of the Assigned Contracts within the

meaning of § 365(f) of the Bankruptcy Code.


     NOW, THEREFORE IT IS HEREBY ORDERED, ADJUDGED

 AND DECREED THAT:

       1.   The Sale Motion is GRANTED on the basis set forth herein

 (other than with respect to matters already addressed by the Bidding

 Procedures Order).

       2. Any objections to the entry of this Sale Order or the relief

 granted herein and requested in the Sale Motion that have not been

 withdrawn, waived or settled, and all reservations of rights included

 therein, hereby are DENIED and OVERRULED.


                    Approval Of The Agreement,
                Transaction And Ancillary Agreements

      3.          The Agreement and all other ancillary documents, and

 all of the terms and conditions thereof, are hereby approved.

      4.          Pursuant to sections 363(b) and (f) of the Bankruptcy

 Code and subject to the terms of this Order, the Debtor is authorized and

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empowered to take any and all actions necessary or appropriate to (i)

consummate the Sale of the Purchased Assets to the Purchaser pursuant

to and in accordance with the terms and conditions of the Agreement, (ii)

close the Sale as contemplated in the Agreement and this Order, and (iii)

execute and deliver, perform under, consummate, implement, and close

fully the Agreement, including the assumption and assignment to the

Purchaser of the Assumed Contracts, together with all additional

instruments and documents that may be reasonably necessary to

implement the Agreement and the Sale. The Purchaser shall not be

required to seek or to obtain relief from the automatic stay under section

362 of the Bankruptcy Code to enforce any of its remedies under the

Purchase Agreement or any other Sale                  related    document.      The

automatic stay imposed by section 362 of the Bankruptcy Code is

modified solely    to the extent necessary to implement the preceding

sentence and the other provisions of this Order.

           5.     This Order shall be binding in all respects upon the

Debtor, its estate, all creditors of, and holders of equity interests in, the

Debtor, any holders of Liens or Interests in, against or on all or any

portion of the Purchased Assets (whether known or unknown), the

Purchaser and all successors and assigns of the Purchaser, the Purchased
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Assets and any trustee, if any, subsequently appointed in the Debtor’s

chapter 11 case or upon a conversion to chapter 7 under the Bankruptcy

Code of the Debtor’s case, and all parties in interest and those otherwise

bound by applicable law. This Order and the Agreement shall inure to

the benefit of the Debtor, its estate, creditors, the Purchaser and the

respective successors and assigns of each of the foregoing.

           6.     Upon the Closing, pursuant to sections 105(a), 363(b),

and 363(f) of the Bankruptcy Code, the Debtor is authorized to transfer

the Purchased Assets to the Purchaser and such transfer shall constitute

a legal, valid, binding, and effective transfer of such Purchased Assets

and shall vest Purchaser with title to the Purchased Assets and, upon the

Debtor’s receipt of the Purchase Price, other than Permitted

Encumbrances and Assumed Liabilities, shall be free and clear of all

Liens or Interests of any kind or nature whatsoever, including but not

limited to, successor or successor-in-interest liability and Claims and

Interests in respect of the Purchased Assets, with all such Liens or

Interests to attach to the cash proceeds ultimately attributable to the

property against or in which such Liens or Interests are asserted, subject

to the terms thereof, with the same validity, force and effect, and in the

same order of priority, which such Liens or Interests now have against
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the Purchased Assets, subject to any rights, claims and defenses the

Debtor or its estate, as applicable, may possess with respect thereto.

Upon the Closing, the Purchaser shall take title to and possession of the

Purchased Assets subject only to the Permitted Encumbrances and

Assumed Liabilities.

           7.     Except with respect to Permitted Encumbrances and

Assumed Liabilities, all persons and entities that are in possession of

some or all of the Purchased Assets on the Closing Date are directed to

surrender possession of such Purchased Assets to the Purchaser or its

assignee at the Closing. Upon Closing or as soon as possible thereafter,

subject to the terms of this Order, each of the Debtor’s creditors is

authorized and directed, and the Purchaser is hereby authorized, on

behalf of each of the Debtor’s creditors, to execute such documents and

take all other actions as may be reasonably necessary to release such

creditor’s Liens or Interests in the Purchased Assets, if any, as such Liens

or Interests may have been recorded or may otherwise exist.

           8.     The Debtor is hereby authorized to take any and all

actions necessary to consummate the Agreement, including any actions

that otherwise would require further approval by its members or its

board of directors without the need of obtaining such approvals.
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           9.     Upon Closing, this Order shall be construed and shall

constitute for any and all purposes a full and complete general

assignment, conveyance and transfer of the Debtor’s interests in the

Purchased Assets or a bill (or bills) of sale transferring good and

marketable title in such Purchased Assets to the Purchaser. Upon

Closing, this Order also shall be construed as, and constitute for any and

all purposes, a complete and general assignment of all right, title, and

interest of the Debtor and its bankruptcy estate to the Purchaser in the

Purchased Assets. Each and every federal, state, and local governmental

agency or department is hereby directed to accept any and all documents

and instruments necessary and appropriate to consummate the

Transactions contemplated by the Purchase Agreement.

           10.    A certified copy of this Order may be filed with the

appropriate clerk and/or recorded with the recorder, which, once filed,

registered, or otherwise recorded, shall constitute conclusive evidence of

the release of all obligations, and the cancellation of any liens and other

encumbrances of any kind whatsoever except those assumed as Assumed

Liabilities or Permitted Encumbrances.

           11.    If any person or entity which has filed statements or

other documents or agreements evidencing Liens on, or interests in, all
                                           22

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or any portion of the Purchased Assets (other than statements or

documents with respect to Permitted Encumbrances) shall not have

delivered to the Debtor prior to the Closing, in proper form for filing and

executed   by     the     appropriate      parties,    termination      statements,

instruments of satisfaction, releases of liens and easements, and any

other documents necessary for the purpose of documenting the release of

all liens or interests which the person or entity has or may assert with

respect to all or any portion of the Purchased Assets, the Purchaser is

hereby authorized, on behalf of the Debtor and each of the Debtor’s

creditors, to execute and file such statements, instruments, releases and

other documents on behalf of such person or entity with respect to the

Purchased Assets.

           12.    This Order is and shall be effective as a determination

that, upon Closing, all Liens or Interests of any kind or nature

whatsoever existing as to the Purchased Assets prior to the Closing Date,

other than Permitted Encumbrances and Assumed Liabilities, shall have

been unconditionally released, discharged and terminated, and that the

conveyances described herein have been effected. This Order is and shall

be binding upon and govern the acts of all persons and entities, including,

without limitation, all filing agents, filing officers, title agents, title
                                           23

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companies, recorders of mortgages, recorders of deeds, registrars of

deeds, administrative agencies, governmental departments, secretaries

of state, federal, state and local officials, and all other persons and

entities who may be required by operation of law, the duties of their

office, or contract, to accept, file, register or otherwise record or release

any documents or instruments, or who may be required to report or

insure any title or state of title in or to any lease; and each of the

foregoing persons and entities is hereby directed to accept for filing any

and all of the documents and instruments necessary and appropriate to

consummate the Transactions contemplated by the Purchase Agreement.

                    Distribution of Sale Proceeds

           13.   Upon Closing, any cash sale proceeds consisting of (a)

all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee pursuant to 28 U.S.C. § 1930(a) calculated at $111,000 based on

the valuation of the Debtor’s assets in Schedule A/B (the “U.S. Trustee

Fees”), and (b) amounts due to the Debtor’s Professionals and the

Committee’s Professionals under the Stipulated Final Order Authorizing

Use of Cash Collateral and Granting Adequate Protection (the “Final

Cash Collateral Order”) [Doc. No. 144] and the Stipulated Amended Final

Order Authorizing Use Of Cash Collateral               And Granting Adequate
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Protection [Doc. No. 269] (the “Professional Fee Carve Out”) shall be

remitted directly to the Debtor, as follows: (i) the U.S. Trustee Fees will

be transferred to and held in a segregated DIP Account, (ii) the

Professional Fee Carve Out will be transferred to and held in the DIP

Professionals Account as defined under the Final Cash Collateral Order;

and (iii) the balance will be transferred to and held in a segregated DIP

account for which Debtor’s financial advisor, Russell Long of O’Keefe &

Associates, will be made an additional signatory (the “DIP Sale Proceeds

Account”). All distributions and withdrawals from the DIP Sale Proceeds

Account will require 2 signatures.


          Assumption And Assignment Of Assigned Contracts


             14.   The Purchaser shall be responsible for curing all allowed

pre-petition monetary and non-monetary defaults relating to the

Assigned Contracts. Pursuant to Section 365 of the Bankruptcy Code, the

Debtor is authorized to assume the Assigned Contracts designated in the

Agreement, cure the same (in the Cure Amounts set forth in the notice

relating to such contracts or by further order of the Court) and assign the

same to Purchaser.

    15.      The Assigned Contracts, consistent with the provisions
                                          25

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contained herein, shall be transferred to, and remain in full force and

effect for the benefit of, Purchaser in accordance with their respective

terms, notwithstanding any provision in any such Assigned Contract

(including those of the type described in section 365(b)(2) of the

Bankruptcy Code) that prohibits, restricts, or conditions such assignment

or transfer and, pursuant to section 365(k) of the Bankruptcy Code, the

Debtor shall be relieved from any further liability with respect to the

Assigned Contracts after such assignment to and assumption by the

Purchaser.

      16.    All defaults or other obligations of the Debtor under the

Assigned Contracts arising or accruing prior to the Closing Date (without

giving effect to any acceleration clauses or any default provisions of the

kind specified in section 365(b)(2) of the Bankruptcy Code) shall be

deemed cured, subject to the satisfaction of the provisions of Paragraph

14 (relating to payment by the Purchaser of the applicable Cure

Amounts), above, and Purchaser shall have no liability or obligation

arising or accruing under the Assigned Contracts prior to the Closing

Date, except as otherwise expressly provided in the Agreement.

      17.    Under §365 of the Bankruptcy Code, provided that the

Purchaser pays the applicable Cure Amount, each nondebtor party to an
                                           26

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Assigned Contract hereby is forever barred from asserting against

Purchaser or the Purchased Assets, any default existing as of the Closing

Date or any counterclaim, defense, setoff, or any other claim asserted or

assertable against the Debtor as of the Closing Date.

     18.   The failure of the Debtor or Purchaser to enforce at any time

one or more terms or conditions of any Assigned Contract shall not be a

waiver of such terms or conditions, or of the Debtor’s and Purchaser’s

rights to enforce every term and condition of the Assigned Contracts.

                Prohibition of Actions Against the Purchaser

     19.   The Transaction has been, and is undertaken by the Debtor

and Purchaser in good faith, as that term is used in § 363(m) of the

Bankruptcy Code and, accordingly, the reversal or modification on appeal

of the authorization provided herein to consummate the Transaction

shall not affect the validity of the sale of the Purchased Assets to

Purchaser, unless such authorization is duly stayed pending such appeal.

Purchaser is in all respects a good-faith purchaser of the Purchased

Assets and is entitled to all of the benefits and protections afforded by §

363(m) of the Bankruptcy Code.

     20.   Under § 363 of the Bankruptcy Code, except for the Permitted


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Encumbrances and Assumed Liabilities, or as otherwise expressly

provided for in this Order or the Purchase Agreement, the Purchaser

shall not have any liability or other obligation of the Debtor arising under

or related to any of the Purchased Assets. Without limiting the generality

of the foregoing and subject to § 363 of the Bankruptcy Code, the

Purchaser shall not be liable for any Claims or Interests against the

Debtor or any of its predecessors or affiliates, other than the Assumed

Liabilities, and the Purchaser shall have no successor or vicarious

liabilities of any kind or character, including, but not limited to, under

any theory of antitrust, successor or transferee liability, labor law, de

facto merger, mere continuation, or substantial continuity, whether

known or unknown as of the Closing Date, now existing or hereafter

arising, whether fixed or contingent, whether asserted or unasserted,

whether legal or equitable, whether liquidated or unliquidated,

including, but not limited to, liabilities on account of warranties,

intercompany loans and receivables between the Debtor and any non-

Debtor affiliate, liabilities relating to or arising from any taxes arising,

accruing or payable under, out of, in connection with, or in any way

relating to the operation of any of the Purchased Assets prior to the

Closing. For purposes of clarification, any administrative taxes shall be
                                          28

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paid by Auxo.

     21.       Neither the purchase of the Purchased Assets by the

Purchaser nor the fact that the Purchaser is using any of the Purchased

Assets previously operated by the Debtor will cause the Purchaser to be

deemed a successor in any respect to the Debtor’s businesses or incur any

liability derived therefrom within the meaning of any foreign, federal,

state, or local revenue, pension, ERISA, tax, labor, employment, or other

law, rule or regulation (including, without limitation, filing requirements

under any such laws, rules or regulations), or under any products liability

law or doctrine with respect to the Debtor’s liability under such law, rule,

or regulation or doctrine.

     22.   Under § 363 of the Bankruptcy Code, except with respect to

Permitted Encumbrances and Assumed Liabilities and subject to

paragraph 26, all persons and entities, including, but not limited to, all

debt security holders, equity security holders, unions, governmental tax

and the Regulatory        Authorities,      lenders, trade creditors, litigation

claimants and other creditors, holding Liens or Interests of any kind or

nature whatsoever against or in all or any portion of the Purchased

Assets (whether legal or equitable, secured or unsecured, matured or

unmatured, contingent or non-contingent, liquidated or unliquidated,
                                           29

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senior or subordinate), arising under or out of, in connection with, or in

any way relating to the Debtor, the Purchased Assets, the operation of

the Debtor’s business prior to the Closing Date or the transfer of the

Purchased Assets to the Purchaser, hereby are forever barred from

asserting against the Purchaser, any of its affiliates, its successors or

assigns, their property or the Purchased Assets, such persons’ or entities’

Liens or Interests in and to the Purchased Assets, including, without

limitation, the following actions: (i) commencing or continuing in any

manner any action or other proceeding against the Purchaser, any of its

affiliates, its successors, assets or properties; (ii) enforcing, attaching,

collecting, or recovering in any manner any judgment, award, decree, or

order against the Purchaser, any of its affiliates, its successors, assets or

properties; (iii) creating, perfecting, or enforcing any Lien or other Claim

against the Purchaser, any of its affiliates, its successors, assets, or

properties; (iv) asserting any setoff, right of subrogation, or recoupment

of any kind against any obligation due the Purchaser, any of its affiliates

or its successors; (v) commencing or continuing any action, in any manner

or place, that does not comply or is inconsistent with the provisions of

this Order or other orders of the Court, or the agreements or actions

contemplated or taken in respect thereof; (vi) revoking, terminating or
                                          30

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failing or refusing to transfer or renew any license, permit or

authorization to operate any of the Purchased Assets or conduct any of

the businesses operated with the Purchased Assets, or (vii) any action

seeking to hold the Purchaser liable as a successor under any collective

bargaining agreement of the Debtor. On the Closing Date, or as soon as

possible thereafter, each creditor is authorized and directed, and the

Purchaser is hereby authorized, on behalf of each of the Debtor’s

creditors, to execute such documents and take all other actions as may

be necessary to release Liens or Interests in or on the Purchased Assets

(except Permitted Encumbrances and Assumed Liabilities), if any, as

provided for herein, as such Liens may have been recorded or may

otherwise exist.

     23.   Except to the extent expressly included in the Assumed

Liabilities, or by applicable law or statue, the Purchaser and its affiliates

shall have no liability, obligation or responsibility under any foreign,

state or local labor law by virtue of the Purchaser’s purchase of the

Purchased Assets or assumption of the Assumed Liabilities.

     24.   Under §363 of the Bankruptcy Code, all persons and entities

are hereby forever barred from taking any action that would adversely

affect or interfere with the ability of the Debtor to sell and transfer the
                                          31

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Purchased Assets to the Purchaser in accordance with the terms of the

Purchase Agreement and this Order.

     25.   Based on the evidence proffered             at the Sale Hearing on

September 28, 2023, the Purchaser has given substantial consideration

under the Agreement for the benefit of the Debtor, its estate, and

creditors. Under §§363(f), (n), and (m) of the Bankruptcy Code, the

consideration given by the Purchaser shall constitute valid and valuable

consideration for    the releases of any potential Claims and Liens

pursuant to this Order, which releases shall be deemed to have been

given in favor of the Purchaser by all holders of Liens against or interests

in, or Claims against the Debtor or any of the Purchased Assets, other

than holders of Liens or Claims relating to the Assumed Liabilities.

Based on the evidence proffered at the Sale Hearing on September 28,

2023, the Purchaser is a good faith purchaser of the Purchased Assets

and the consideration provided by the Purchaser for the Purchased

Assets under the Agreement is fair and reasonable.

     26.   For the avoidance of doubt, nothing in this Order shall limit,

modify, or in any way affect the Secretary (the “Secretary”) of the U.S.

Department of Health and Human Services’ authority to regulate

Debtor’s or the Purchaser’s enrollment or participation as a Medicare
                                          32

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supplier (to the extent the Purchaser enrolls or participates as a

Medicare supplier) or the right and authority of the Secretary, CMS or

its contractors to review, approve, deny, or pay Medicare claims in the

ordinary course of business in accordance with the provisions of, and

regulations, policies and procedures promulgated under Title XVIII of the

Social Security Act, 42 U.S.C. §§ 1395–1395kkk (collectively, the

“Medicare Program”). The United States takes no position with respect

to, and nothing herein shall be construed as, the Secretary’s consent to,

or acceptance of, the Agreement or any underlying transactions described

in or supporting the Agreement].

      27.      For the avoidance of doubt, notwithstanding anything to the

contrary in this Order or the Agreement, (i) Debtor shall not assume and

assign or otherwise transfer any national provider identifier, provider

transaction access number or Medicare enrollment agreement to the

Purchaser; (ii) Debtor shall not loan or otherwise permit the Purchaser

to use or submit claims under Debtor’s provider transaction access

number or Medicare enrollment agreement; and (iii) nothing shall

restrict or limit the United States’ rights of setoff and recoupment.

      28.   Further, nothing in this Order or the Agreement discharges,

releases, enjoins, bars, impairs or otherwise precludes (a) any obligation
                                           33

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or liability owed to the United States that is not a “claim” within the

meaning of section 101(5) of the Bankruptcy Code, (b) any claim of the

United States arising after the Sale Date, (c) any obligation or liability of

any entity or person under police or regulatory statutes or regulations to

any Governmental Unit as the owner, lessor, lessee, licensee, or operator

of property or rights to property that such entity or person owns,

operates, licenses, or leases after the Sale Date; (d) any right, defense,

claim, suit or cause of action of, or obligation or liability owed to, the

United States on the part of any non-debtor; or (e) the enforcement of the

United States’ police or regulatory powers. Nothing in this Order or the

Agreement authorizes the transfer to the Purchaser of any licenses,

permits, registrations, or governmental authorizations and approvals

without     the    Purchaser's      compliance       with    all   applicable    legal

requirements under non-bankruptcy law governing such transfers.

      29.   Debtor is the subject of an ongoing investigation by the U.S.

Attorney’s Office, and the U.S. Department of Health and Human

Services, and was issued Civil Investigative Demand No. 23-070,

requiring the production of certain documents and responses to

interrogatories. The Debtor and the estate have an obligation to preserve

any and all documents, tangible items, and electronically stored
                                             34

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information (“ESI”) that may be relevant to the aforementioned

investigation. The obligation to preserve extends to Purchaser and covers

all records particularly relevant to the ongoing investigation including

all records responsive to the CID.             In the event that potentially

responsive electronically stored information resides in locations Debtor

or Purchaser may deem not reasonably accessible, such as deleted files

or disaster-recovery systems, Debtor and Purchaser agree to preserve

such not reasonably accessible ESI so as not to deprive the United States

of the right to seek its production in the future. This preservation

obligation includes safeguarding of records that could potentially be

destroyed in the event Purchaser or Debtor decides to change its

computer software systems, or winds down its operations.                        The

preservation obligation also includes intervening to prevent loss of

records due to routine operations.

                           Additional Provisions

      30. This Court retains jurisdiction, subject to the terms of this

Order, to:


      a) Interpret, implement, and enforce the terms and provisions of

         this Order and the terms of the Agreement, all amendments

                                          35

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        thereto, and any waivers and consents thereunder, and of each

        of the agreements executed in connection therewith to which the

        Debtor is a party or which has been assigned by the Debtor to

        Purchaser;

     b) Protect Purchaser or any of the Assigned Contracts or

        Purchased Assets against any of the Liens or Interests (other

        than the Permitted Encumbrances), as provided herein, with

        respect to the commencement or continuation of any action

        seeking to impose successor or other liability upon the

        Purchaser;

     c) Enter orders in aid or furtherance of the Sale and the

        Transaction;

     d) Compel delivery of all Purchased Assets to Purchaser;

     e) Adjudicate any and all remaining issues concerning the Debtor’s

        right and authority to assume and assign the Assigned

        Contracts and the rights and obligations of Purchaser with

        respect to such assignment and the existence of any default

        (including any Cure Amounts) under any such Assigned

        Contract;


                                          36

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        f) Adjudicate all issues concerning any actual or alleged Liens or

          Interests in and to the Purchased Assets, including the extent,

          validity, enforceability, priority, and nature of all such actual or

          alleged Liens or Interests; and

        g) Except as expressly provided for herein, adjudicate any and all

          issues and/or disputes relating to the Debtor and title or interest

          in the Purchased Assets and the proceeds of the Sale, the Sale

          Motion, and/or the Agreement.


        31. The consideration provided by the Purchaser to the Debtor

pursuant to the Agreement for the Purchased Assets constitutes

reasonably equivalent value and fair consideration under the Bankruptcy

Code.

        32.   There are no brokers involved in consummating the Sale and

no brokers’ commissions are due.

        33.   No bulk sales law or any similar law of any state or other

jurisdiction applies in any way to the Sale.

        34.   The terms and provisions of the Agreement, the ancillary

agreements, and this Sale Order shall be binding in all respects upon,

and shall inure to the benefit of, the Debtor and Purchaser and their

                                           37

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respective affiliates, successors and assigns, and any affected third

parties, notwithstanding any subsequent appointment of any trustee(s)

under any chapter of the Bankruptcy Code or conversion of this case to a

case under chapter 7, as to which trustee(s) such terms and provisions

likewise shall be binding. The Agreement and the Transaction may be

specifically enforced against, and shall not be subject to rejection or

avoidance by, the Debtor or any Chapter 7 or Chapter 11 trustee of the

Debtor.

      35.   The Agreement and any related agreements, documents, or

other instruments may be modified, amended, or supplemented by the

parties thereto, in a writing signed by such parties, and in accordance

with the terms thereof, without further order of the Court, provided that

any such modification, amendment, or supplement does not have a

material adverse effect on the Debtor or the Debtor’s estate.

      36.   The failure specifically to include any particular provisions of

the Agreement or the ancillary agreements in this Sale Order shall not

diminish or impair the effectiveness of such provisions, it being the intent

of the Court that the Agreement and the ancillary agreements be

authorized and approved in their entirety.


                                          38

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      37.   To the extent of any inconsistency between the provisions of

this Sale Order, the Agreement, and any documents executed in

connection therewith, the provisions contained in this Sale Order and the

Agreement and any documents executed or delivered in connection

therewith shall govern, in that order.

      38.      Except as otherwise provided in the Combined Disclosure

Statement and Plan of Liquidation filed by the Debtor (collectively the

“Plan”)[ECF No. 249], any amended Plan, and any subsequent order

confirming the Plan or any amended Plan, this Order shall not conflict

with or derogate from the provisions of the Agreement. To the extent of

any inconsistency between the Plan, an amended Plan, the order

confirming the Plan or an amended Plan (collectively, the “Plan

Documents”) and this Order, the Plan Documents shall govern.

      39.   In the event that this chapter 11 case is dismissed or

converted to a chapter 7 case, or a trustee is appointed (whether under

chapter 11 or 7), neither the dismissal or conversion of this case, nor the

appointment of such a trustee, shall affect, in any manner the rights of

Purchaser under the Agreement or this Sale Order, or any other

agreements executed by the Debtor in conjunction with the Sale and the

Transaction, and all of the rights and remedies of Purchaser under this
                                           39

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Sale Order, and such agreements shall remain in full force and effect as

if the case had not been dismissed or converted or a trustee had not been

appointed.

      40.     The provisions of this Sale Order are non-severable and

mutually dependent.

      41.     To the extent that the Purchaser obtains the business records

of the Debtor, in whatever form they exist, electronic or otherwise, as part

of the Agreement, the Purchaser shall maintain the business records of

the Debtor and shall reasonably cooperate with and provide the records

upon request to the Debtor, James Grossi, the Creditor’s Committee, the

United States, or any Post-Confirmation Committee,                        and any

subsequently appointed liquidation agent and/or trustee until the closing

of the case. This preservation obligation includes safeguarding of records

that could potentially be destroyed in the event Purchaser or Debtor

decides to change its computer software systems, or winds down its

operations.     The preservation obligation also includes intervening to

prevent loss of records due to routine operations.

      42.     Pursuant to Bankruptcy Rules 7062, 9014, 6004(h), and

6006(d), this Order shall be effective immediately upon entry and the


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 Debtor and Purchaser are authorized to close the Sale immediately upon

 entry of this Order. Notwithstanding the provisions of Bankruptcy Rules

 6004 and 6006 or any applicable provisions of the Local Rules, this Order

 shall not be stayed for fourteen (14) days after the entry hereof, but shall

 be effective and enforceable immediately upon entry, and the fourteen

 (14) day stay provided in such rules is hereby expressly waived and shall

 not apply. Any party objecting to this Order must exercise due diligence

 in filing an appeal and pursuing a stay within the time prescribed by law

 and prior to the Closing Date, or risk its appeal being foreclosed as moot.

Signed on September 29, 2023




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